         Case 2:11-cr-00434-RFB-PAL             Document 404       Filed 06/19/13      Page 1 of 2



 1
 2
 3
 4
                                      UNITED STATES DISTRICT COURT
 5
                                              DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )                   Case No. 2:11-cr-00434-LDG-PAL
                                               )
 8                                 Plaintiff,  )                                ORDER
                                               )
 9   vs.                                       )                       (Mtn to Modify - Dkt. #401)
                                               )
10   IAVOR STOYTCHEV,                          )
                                               )
11                                 Defendant.  )
     __________________________________________)
12
13              This matter is before the court on Defendant Iavor Stoytchev’s Unopposed Motion to Modify
14   Conditions of Release and for Permission to Travel (Dkt. #401) filed June 14, 2013. The court has
15   considered the Motion.
16              On December 13, 2011, a federal grand jury returned an Indictment (Dkt. #1)1 against
17   Defendant, charging him with one count of wire fraud, in violation of 18 U.S.C. § 1343, and one count
18   of conspiracy to commit wire fraud, in violation of 18 U.S.C. § 1349. Defendant made an initial
19   appearance in front of Magistrate Judge Johnson, who has since retired and was released on pretrial
20   release, subject to certain conditions. See Minutes of Proceedings (Dkt. #43).
21              Defendant requests permission to travel to and from Claremont, California, with his wife, who
22   is attending Claremont University to obtain her Ph.D. Defendant represents that he has had no negative
23   contact with law enforcement, has been gainfully employed, and has attended court as required. He is
24   in constant contact with counsel. Neither the government nor Defendant’s Pretrial Services Officer
25   oppose Defendant’s request.
26              Having reviewed and considered the matter, and good cause appearing,
27
28
            1
             The grand jury returned a Superceding Indictment (Dkt. #243) on October 16, 2012, that did not
     change the nature of the charges alleged against Defendant.
        Case 2:11-cr-00434-RFB-PAL         Document 404     Filed 06/19/13   Page 2 of 2



 1         IT IS ORDERED that Defendant’s Motion to Modify Release Conditions (Dkt. #401) is
 2   GRANTED. Defendant Iavor Stoytchev may travel to and from Claremont, California.
 3         Dated this 18th day of June, 2013.
 4
 5
 6                                              _________________________________________
                                                PEGGY A. LEEN
 7                                              UNITED STATES MAGISTRATE JUDGE
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                     2
